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                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                    LONDON DIVISION

 ROBERT MAY, as Administrator for the             )   Cause No. 6:09-165
 Estate of Thomas May, and CHRISTOPHER            )
 HALL, as Administrator for the Estate of         )
 Bradley Hall and MATTHEW BENJAMIN                )
 COOLEY,                                          )
                                                  )
                        Plaintiff,                )
                                                  )
        v.                                        )
                                                  )
 FORD MOTOR COMPANY,                              )
                                                  )
                        Defendant.

          DEFENDANT FORD MOTOR COMPANY’S MEMORANDUM OF LAW
         IN SUPPORT OF ITS MOTION IN LIMINE TO EXCLUDE REFERENCE
           TO THE NUMBER, SIZE, LOCATION OR RESIDENCE OF FORD’S
                        COUNSEL OR COST OF DEFENSE

        Defendant Ford Motor Company ("Ford") hereby submits its Memorandum in Support of

 its Motion in Limine to Exclude Reference to the Number, Size, Location, or Residence of Ford’s

 Counsel or Cost of Defense. As grounds for its Motion, Ford states as follows.

                                           ARGUMENT

        During the course of the trial, counsel for Plaintiffs may attempt to inform the jury about

 the number, residence, resources, or legal practices of the law firms and lawyers involved in

 Ford’s defense of this action. In addition, opposing counsel may attempt to state, in the jury’s

 presence, that Ford’s counsel specializes in defending product liability cases or that Ford’s

 counsel is supervising, coordinating, regional, or national counsel for Ford, or for some other

 automobile manufacturer. Finally, references to the cost of Ford’s defense, or any aspect of it,

 such as partial daily transcripts or exhibits should be excluded.

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        Such information is irrelevant to any issue in this case. Any mention of these or similar

 facts by opposing counsel would amount to nothing more than an appeal to passion and

 prejudice. References to such irrelevant and unfairly prejudicial evidence should, therefore, be

 excluded.

        Facts about the numbers, residences, and legal practices of Ford’s counsel cannot tend to

 prove or disprove any issue in this case. Consequently, such information is irrelevant and

 inadmissible pursuant to FRE 402. See Smerke v. Office Equip. Co., 138 Tex. 236, 158 S.W.2d

 302, 303-04 (1941) (“it may be assumed that the geographical distribution of the lawyers had

 nothing whatever to do with a just solution of the issues presented”); Travelers Ins. Co. v.

 Broadnax, 365 S.W.2d 683, 685 (Tex. Civ. App. -- Texarkana 1963, no writ) (describing ad

 hominem reference to opposing counsel as “an immaterial fact outside the record”). Moreover,

 any reference to such information would be solely for the purpose of unfairly prejudicing the

 jury against Ford and should be prohibited pursuant to FRE 403. See Twin City Fire Ins. Co. v.

 King, 510 S.W.2d 370, 375 (Tex. Civ. App. 1974, writ ref’d n.r.e.) (Frequent references to out-

 of-town opposing counsel are “unfair efforts to prejudice a jury”); Travelers Ins. Co., 365

 S.W.2d at 685 (repeated references to defendant’s counsel as a “‘lawyer from Dallas’” intended

 to “conjure up one or all of the genni of prejudice, contempt, hatred and resentment.”)




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           For these reasons, ad hominem references to opposing counsel are improper.

    References to the number and resources of Ford’s counsel or Ford’s counsel’s law firms

    are also an allusion to Ford’s wealth. Attempts to prejudice the jury by contrasting the

    wealth of the parties are improper. The resources and size of the law firms representing

    Ford in this case, as well as information about the nature of the legal practices of Ford’s

    attorneys, such as that the attorneys specialize in defending products liability actions or

    that they serve as Ford’s national or regional counsel, are irrelevant to the issues in this

    case. Any references to these facts, or other similar facts, would be irrelevant and

    prejudicial, and therefore expressly forbidden by the Federal Rules of Evidence.

                                             CONCLUSION

           For the foregoing reasons, Ford respectfully requests that the Court grant its

    Motion in Limine to exclude reference to the number, size, location or residence of Ford’s

    counsel or the cost of defense.



                                                FROST BROWN TODD LLC

                                                By: /s/ Kevin C. Schiferl
                                                   Kevin C. Schiferl
                                                   Attorneys for Defendant FORD MOTOR
                                                   COMPANY




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                                      CERTIFICATE OF SERVICE

            I hereby certify that on this 3rd day of January, 2011, a copy of the foregoing was
    filed electronically. Notice of this filing will be sent to the following parties by operation
    of the Court’s electronic filing system. Parties may access this filing through the Court’s
    system.

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